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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 CHARLOTTE DEAN,                                          Civil Action No.:
                                                          2:20-cv-02755-JMV-MF
        Plaintiff,

        v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION

        Defendants.



         ORDER FOR PRO HAC VICE ADMISSION OF DONALD R. MCMINN

       THIS MATTER having come before the Court on the application of Defendant Novartis

Pharmaceuticals Corporation by and through their attorney Kelly Jones Howell at Harris Beach

PLLC, for the pro hac vice admission of Donald R. McMinn (“Counsel”) pursuant to Local Civil

Rule 101.1(c), with the consent of Plaintiff’s counsel; and the Court having considered the

declarations in support of the application, which reflect that Counsel satisfies the requirements

set forth in Local Civil Rule 101.1(c)(1) of the United States District Court for the District of

New Jersey;

       IT IS ON THIS ___15____ day of ____May______, 2020,

       ORDERED that the application for the pro hac vice admission of Counsel is granted;

       IT IS FURTHER ORDERED that Counsel shall abide by all rules of this Court,

including all disciplinary rules, and shall notify the Court immediately of any matter affecting

Counsel’s standing at the bar of any court;
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       IT IS FURTHER ORDERED that Counsel is deemed to consent to the appointment of

the Clerk of the Court as the agent upon whom service of process may be made for all actions

against Counsel that may arise from Counsel’s participation in this matter;

       IT IS FURTHER ORDERED that Kelly Jones Howell at Harris Beach PLLC, shall (a)

be attorney of record in this case in accordance with L. Civ. R. 101.1(c); (b) be served all papers

in this action and such service shall be deemed sufficient upon Counsel; (c) sign (or arrange for a

member of the firm admitted to practice in New Jersey to sign) all pleadings, briefs, and other

papers submitted to this court; and (d) be responsible for the conduct of the case and Counsel in

this matter; and

       IT IS FURTHER ORDERED that Counsel, individually, shall make payments to the

New Jersey Lawyer’s Fund for Client Protection, pursuant to N.J. Court Rule 1:28-2(a) and

pursuant to Local Rule 101.1(c)(2), for each year in which Counsel represents the client in this

matter, and that Counsel shall pay the sum of $150.00 to the Clerk of the United States District

Court in accordance with Local Civil Rule 101.1(c)(3).




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